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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

  PENGCHENG SI, Individually and on Behalf Case No.1 :22-cv-02S41-TNM
  of All Others Similarly Situated,

                      Plaintiff,

                 v.

 BED BATH & BEYOND CORPORATION,
 RYAN COHEN, RC VENTURES LLC, and
 lP MORGAN SECURITIES LLC,

                      Defendants.


  DECLARATION IN SUPPORT OF MOTION TO ADMIT COUNSEL PRO HAC VICE




{00525102; 1 }
           Case 1:22-cv-02541-TNM Document 17-1 Filed 11/10/22 Page 2 of 10



            I, Jeremy A. Lieberman, pursuant to LCvR 83.2(c), file this Declaration in support of the

instant Motion to Admit Counsel Pro Hac Vice.


            1.     The full name of the attorney: Jeremy A. Lieberman.

           2.      The attorney's office address and telephone number: Pomerantz LLP, 600 Third

Avenue, Floor 20, New York, NY 10016, Phone: 212-661-1100.

           3.      A list of all bars to which the attorney has been admitted: Please see Exhibit A

attached.

           4.      A certification that the attorney either has or has not been disciplined by any

bar, and ifthe attorney has been disciplined by any bar, the circumstances and details of the

discipline: I have not been disciplined by any bar.

           5.      The number of times the attorney has been admitted pro hac vice in this Court

within the last two years: Zero (0).

           6.      Whether the attorney, if the attorney engages in the practice of law from any

office located in the District of Columbia, is a member of the District of Columbia Bar or has

an application for membership pending: I do not engage in the practice of law from any office

located in the District of Columbia. I am not a member of the District of Columbia Bar. I do not

have an application for membership pending.

           7.     The motion must be accompanied by a certificate of the court or bar for the

state in which the applicant regularly practices, which has been issued within thirty (30) days

of filing and states that the applicant is a member in good standing of the bar of that state

court: Please see Exhibit B attached.




{00525 102; 1 }                                    1
           Case 1:22-cv-02541-TNM Document 17-1 Filed 11/10/22 Page 3 of 10




 Dated:                         , 2022    Respectfully submitted,




                                         Jeremy A. Lieber
                                         600 Third Avenue, Oth Floor
                                         New York, New York 10016
                                         Telephone: (212) 661-1100
                                         Facsimile: (917) 463-1044
                                         jalieberman@pomlaw.com

                                          Counsel for Lead Plaintiff Movant Bratya SPRL
                                          and Proposed Liaison Counsel for the Class




{00525 102; 1 }                           2
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                        Exhibit A
                      Bar Admissions
          Case 1:22-cv-02541-TNM Document 17-1 Filed 11/10/22 Page 5 of 10
                               Jeremy A. Lieberman Court Admissions



                   Court Name                      Date of Admission


                   Supreme Court, State of New
                                                   Wednesday, September 17, 2003
                   York, Second Department



                   United States District Court,
                                                 Tuesday, January 10, 2006
                   Southern District of New York



                   United States District Court,
                                                   Tuesday, January 10, 2006
                   Eastern District of New York



                                                  Monday, November 09, 2009
                   United States Court of Appeals (admitted); Wednesday, October
                   for the Second Circuit         29, 2014 (renewed); Wednesday,
                                                  September 11 , 2019 (renewed)



                   United States Court of Appeals
                                                  Thursday, March 3, 2011
                   for the Ninth Circuit



                  United States District Court,
                                                   Friday, August 31 , 2012
                  Northern District of Illinois


                   United States District Court,
                                                   Tuesday, November 26, 2013
                   Southern District of Texas



                  United States Court of Appeals
                                                 Friday, January 31 , 2014
                  for the Third Circuit



                  United States Court of Appeals
                                                 Wednesday, March 5, 2014
                  for the Tenth Circuit




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          Case 1:22-cv-02541-TNM Document 17-1 Filed 11/10/22 Page 6 of 10
                               Jeremy A. Lieberman Court Admissions



                   Court Name                       Date of Admission


                                                    Friday, June 13,20 14 (admitted);
                   United States District Court,
                                                    Tuesday, September 29, 2020
                   District of Colorado
                                                    (renewed)


                   United States District Court,
                                                    Thursday, June 19, 2014
                   Eastern District of Michigan



                   United States Court of Appeals
                                                  Friday, January 30, 2015
                   for the Sixth Circuit



                   United States Court of Appeals
                                                  Thursday, June 11, 2015
                   for the Fourth Circuit



                   United States Court of Appeals
                                                  Wednesday, Apri l 6, 20 16
                   for the Eleventh Circuit



                   Supreme Court of the United
                                                   Monday, November 27, 2017
                   States


                   United States District Court,
                                                 Tuesday, March 26, 2019
                   Northern District of New York



                   United States Court of Appeals
                                                  Thursday, June 13 , 2019
                   for the First Circuit


                   United States District Court,
                                                   Thursday, September 26, 2019
                   Western District of New York



                  United States Court of Appeals
                                                 Tuesday, October 6, 2020
                  for the Fifth Circuit




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          Case 1:22-cv-02541-TNM Document 17-1 Filed 11/10/22 Page 7 of 10
                               Jeremy A. Lieberman Court Admissions



                   Court Name                      Date of Admission




                   United States District Court,
                                                   Tuesday, November 30, 2021
                   Eastern District of Wisconsin




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Case 1:22-cv-02541-TNM Document 17-1 Filed 11/10/22 Page 8 of 10




                      Exhibit B
       State Court Certificate of Good Standing
 Case 1:22-cv-02541-TNM Document 17-1 Filed 11/10/22 Page 9 of 10




               .Jtyye((ate Division of the Suyreme Court
                        of the State of :New york
                      Secondjudicia( Deyartment

    I, Maria T. J'asu{o, C{erk of the 5tyye{{ate Division of the
Suyreme Court of the State of New }fork, Seconti Judicia{
Deyartment, tio hereby certify that

                      Jeremy .Jt{an Liel3erman
was tiu{y ficenseti anti atimitteti to yractice as an 5tttorney anti
Counse{or at Law in a{{ the courts of this State on September 17,
2003, has tiu{y taken anti sUbscribeti the oath of office prescribeti

by raw, has been enro{{eti in the 'Ro{{ of 5tttorneys anti Counse{ors
at Law on fire in this office, is tiu{y registereti with the
5ttiministration Office of the Courts, anti according to the recordS
of this Court is current{y in gooti standing as an 5tttorney anti
Counse{or-at-Law.


                             In Witness Whereof, I have hereunto set
                             my hanti in the City of 'Brook{yn on
                             November 10, 2022 .




                                  C{erk of the Court


CertJ1J -0009 1Bo 2
 Case 1:22-cv-02541-TNM Document 17-1 Filed 11/10/22 Page 10 of 10

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                                        (718) 875 -1300
 HECTOR D. LASALLE                                                      DARRELL M. JOSEPH
   PRE SIDING JUSTICE                                                        DEPUTY CLER KS

  MARIA T. FASULO                                                         KENNETH BAND
  C LERK OF THE COURT
                                                                        MELISSA KRAKOWSKI
                                                                          WENDY STYNES
                                                                        ASSOC IATE DEPUTY CLER KS




To Whom It May Concern



        An attorney admitted to practice by this Court may request a certificate of
good standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.



       An attorney's registration status, date of admission and disciplinary history
may be viewed through the attorney search feature on the website of the Unified
Court System .



        New York State does not register attorneys as active or inactive.



      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Second Judicial Department.



        Bar examination history is available from the New York State Board of Law
Examiners.



        Instructions, forms and links are available on this Court's website .




                                                   Maria T. Fasulo
                                                   Clerk of the Court




Revised January 2022
